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                                                                         6                                UNITED STATES DISTRICT COURT
                                                                         7                               NORTHERN DISTRICT OF CALIFORNIA
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United States District Court




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                               For the Northern District of California




                                                                         12   ANTONIA RUSSELL,
                                                                         13                 Plaintiff,                          No. C 14-3839 PJH
                                                                         14          v.                                         ODER GRANTING MOTION
                                                                                                                                TO TRANSFER VENUE
                                                                         15   WERNER ENTERPRISES, INC.,
                                                                         16              Defendant.
                                                                              _______________________________/
                                                                         17
                                                                         18          In this action, plaintiff Antonia Russell asserts wage-and-hour claims against
                                                                         19   defendant Werner Enterprises, Inc. ("Werner") on her own behalf and on behalf of a
                                                                         20   proposed class of truck drivers employed by Werner who at any time during the four years
                                                                         21   prior to the filing of the complaint drove a truck for Werner in the State of California. Werner
                                                                         22   is incorporated in the State of Nebraska and its headquarters are located in Omaha,
                                                                         23   Nebraska.
                                                                         24          Before the court is Werner's motion for an order transferring the case to the District
                                                                         25   of Nebraska, where two other wage-and-hour cases filed against Werner by its truck
                                                                         26   drivers are pending. Werner seeks transfer under the "first-to-file" rule, or, in the
                                                                         27   alternative, under 28 U.S.C. § 1404(a) for the convenience of parties and witnesses.
                                                                         28   Having read the parties' papers and carefully considered their arguments and the relevant
                                                                         1    legal authority, the court hereby DENIES the motion to transfer under the "first-to-file" rule,
                                                                         2    and GRANTS the motion the motion to transfer for the convenience of parties and
                                                                         3    witnesses.
                                                                         4           1.     Transfer under the "first-to-file" rule
                                                                         5            Under the “first to file” rule, “when two identical actions are filed in courts of
                                                                         6    concurrent jurisdiction, the court which first acquired jurisdiction should try the lawsuit.”
                                                                         7    Pacesetter Sys., Inc. v. Medtronic, Inc., 678 F.2d 93, 95 (9th Cir. 1982). “The doctrine is
                                                                         8    designed to avoid placing an unnecessary burden on the federal judiciary, and to avoid the
                                                                         9    embarrassment of conflicting judgments.” Church of Scientology of Cal. v. U.S. Dep't of
                                                                         10   Army, 611 F.2d 738, 750 (9th Cir. 1979).
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                                                                         11          A federal district court has discretion to dismiss, stay, or transfer a case to another
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                                                                         12   district under the "first-to-file" rule. Alltrade, Inc. v. Uniweld Prods. Inc., 946 F.2d 622, 628
                                                                         13   (9th Cir. 1991). In determining whether to apply the rule, courts generally consider three
                                                                         14   factors: (1) the chronology of the actions; (2) the similarity of the parties; and (3) the
                                                                         15   similarity of the issues. Id. at 625.
                                                                         16          The motion is DENIED. While it is true that the Nebraska actions were filed before
                                                                         17   this action, and that Werner is a defendant in all three actions, and that all three actions
                                                                         18   challenge one or more of Werner's practices with regard to compensating its drivers, it also
                                                                         19   appears that the members of the Nebraska classes and the putative members of the class
                                                                         20   proposed in this case are not the same.
                                                                         21          In addition, while the issues are broadly similar, in that the plaintiffs in each case
                                                                         22   allege that Werner failed to pay them as required under the applicable law, the present
                                                                         23   action asserts claims only under California law, while the Nebraska cases assert claims
                                                                         24   under federal law and Nebraska law. Accordingly, Werner has not met its burden of
                                                                         25   showing that transfer is warranted under the "first-to-file" rule.
                                                                         26          2.     Transfer under 28 U.S.C. § 1404(a)
                                                                         27          “For the convenience of parties and witnesses, in the interest of justice, a district
                                                                         28   court may transfer any civil action to any other district or division where it might have been

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                                                                         1    brought or to any district or division to which all parties have consented.” 28 U.S.C.
                                                                         2    § 1404(a). A district court conducts an “individualized, case-by-case consideration of
                                                                         3    convenience and fairness” and considers multiple factors when determining if transfer is
                                                                         4    appropriate. Jones v. GNC Franchising, Inc., 211 F.3d 495, 498 (9th Cir.2000) (quotation
                                                                         5    and citation omitted).
                                                                         6           Courts in this district commonly use the following factors to evaluate whether the
                                                                         7    interests of justice warrant a transfer of venue under § 1404(a): (1) the plaintiff's choice of
                                                                         8    forum, (2) the convenience of the parties, (3) the convenience of the witnesses, (4) the
                                                                         9    ease of access to the evidence, (5) the familiarity of each forum with the applicable law,
                                                                         10   (6) the feasibility of consolidation of other claims, (7) any local interest in the controversy,
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                                                                         11   and (8) the relative court congestion and time of trial in each forum. See Williams v.
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                                                                         12   Bowman, 157 F.Supp. 2d 1103, 1106 (N.D. Cal. 2001); see also Vu v. Ortho-McNeil
                                                                         13   Pharmaceutical, Inc., 602 F.Supp. 2d 1151, 1156 (N.D. Cal. 2009).
                                                                         14          The motion is GRANTED. The parties do not dispute that venue is proper in the
                                                                         15   State of Nebraska, or that the case could have been brought there. Thus, the only
                                                                         16   disputed issues involve the "convenience" factors and the other factors identified in, e.g.,
                                                                         17   Williams.
                                                                         18          With regard to the convenience of the parties, it would be more convenient for
                                                                         19   Werner to litigate the case in Nebraska, where its headquarters are located and all its
                                                                         20   records are maintained, and where it is already defending against two other class actions
                                                                         21   challenging its methods and practices with regard to paying its truck drivers.
                                                                         22          With regard to plaintiff's convenience, the court notes, first, that plaintiff is a resident
                                                                         23   of Mississippi, and does not claim to have lived in California during the relevant period. Nor
                                                                         24   does she explain why California would be a more convenient forum for her. Werner has
                                                                         25   provided evidence showing that plaintiff made more than 130 trips during her periods of
                                                                         26   employment for Werner between January 2013 and the present, but that only five of those
                                                                         27   started or ended at a location in California. All other trips started or ended outside of
                                                                         28   California. Notwithstanding having minimal contacts with the State, plaintiff chose to file

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                                                                         1    suit in California, possibly because that is where her counsel are located. However, the
                                                                         2    convenience of counsel is irrelevant for purposes of considering the convenience of parties.
                                                                         3    See Zimpelman v. Progressive Northern Ins. Co., 2010 WL 135325 at *1 (N.D. Cal. Jan. 8,
                                                                         4    2010); Costco Wholesale Corp. v. Liberty Mut. Ins. Co., 472 F.Supp. 2d 1183, 1195-96
                                                                         5    (S.D. Cal. 2007).
                                                                         6           Ordinarily, the defendant must make a strong showing of inconvenience to
                                                                         7    overcome the plaintiff's choice of forum. See Decker Coal Co. v. Commonwealth Edison
                                                                         8    Co., 805 F.2d 834, 843 (9th Cir. 1986). However, this presumption may be rebutted due to
                                                                         9    a variety of circumstances, including when the party who has selected the challenged
                                                                         10   forum does not reside there; where there is some suggestion of forum shopping by the
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                                                                         11   non-moving party; and when the chosen forum lacks a significant connection to the
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                                                                         12   activities alleged in the complaint. Signal IP, Inc. v. ford Motor Co., 2014 WL 4783537 at *3
                                                                         13   (C.D. Cal. Sept. 25, 2014); Microsoft Corp. v. Tivo, Inc., 2011 WL 1930640 at *3 (W.D.
                                                                         14   Wash. May 19, 2011); Williams, 157 F.Supp. 2d at 1107; see also Schwarzer, Tashima &
                                                                         15   Wagstaffe, Federal Civil Procedure Before Trial (2014 ed.) § 4:761. Thus, in this case, the
                                                                         16   court finds that the convenience of the defendant Werner outweighs that of the plaintiff.
                                                                         17          With regard to the convenience of witnesses, which is generally considered "the
                                                                         18   most important factor" in determining whether a transfer under § 1404(a) is appropriate, the
                                                                         19   court finds that Werner's identification of its witnesses by job function and its showing that
                                                                         20   its corporate headquarters, key employees, and relevant documents are all located in
                                                                         21   Nebraska, outweigh plaintiff's unsupported assertion that fewer than one quarter of the
                                                                         22   unnamed class members may reside in California, and that there are thousands of non-
                                                                         23   party Californians "who observed drivers when their trucks were stopped and have material
                                                                         24   testimony on that point."
                                                                         25          Finally, the court finds that the remaining factors largely favor transfer. In particular,
                                                                         26   because all the relevant employment and personnel records – and employees who are
                                                                         27   familiar with those records and able to testify about them – are located in Omaha, the factor
                                                                         28   of ease of access to proof favors transfer.

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                                                                         1          Accordingly, it is hereby ORDERED that this case be transferred to the District of
                                                                         2    Nebraska. The date for the hearing on this motion, previously set for October 8, 2014, is
                                                                         3    VACATED.
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                                                                         5    IT IS SO ORDERED.
                                                                         6    Dated: October 6, 2014
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                                                                         7                                                     PHYLLIS J. HAMILTON
                                                                                                                               United States District Judge
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                               For the Northern District of California




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